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IN THE UNITED sTATEs DISTRICT coURT H'ED£*‘L..
FoR THE wEsTERN DISTRICT oF TENNESSEE 05
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UNITED STATES OF AMERICA,
Plaintiff,
No. 04-20498

V.

RONALD JONES ,

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Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION TO QUASH SUBPOENA DUCES TECUM

 

On March 3, 2005, the defendant Ronald Jones (“Jones") “filed
a Subpoena Duces Tecuw1 and served it upon_ the Keeper of the
Reoords, Memphis Police Department - Narcotics Division requesting
the ‘Log Sheets for Detective Pike for his shifts from 8-1-2004 to
8-31-2004....’” (Govt.’s Mot. at l.) The government filed a motion
to quash the subpoena on March 24, 2005. Jones filed a response on
March 30 2005. In his response Jones argues, without citing
authority, that because the motion to quash. was filed. by an

Assistant United States Attorney (“AUSA”) and “[t]he AUSA does not

represent the party being subpoenaed . . . [the AUSA] does not have
standing to bring said motion.” (Def.'s Resp. at l.)

Federal Rule of Criminal Procedure 17(c) (“Rule 17(c)”), which
deals with the production of “documents and objects,” states:

(l) In General. A subpoena may order the witness to
produce any books, papers, documents, data, or other
objects the subpoena designates. The court may direct the
witness to produce the designated items in court before

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trial or before they are to be offered in evidence. When

the items arrive, the court may permit the parties and

their attorneys to inspect all or part of them.

(2} Quashing or Modifying the Subpoena. On motion made

promptly, the court may quash or modify the subpoena if

compliance would be unreasonable or oppressive.
“Decisions regarding the quashing of a subpoena duces tecum,
submitted pursuant to Rule 17(c) of the Federal Rules of Criminal
Procedure, are committed to the trial judge's discretion.” U.S. v.
Hughes, 895 F.2d 1135, 1145 (6th Cir. 1990) (Citirlg United States
v. NiXOn, 418 U.S. 683, 702 (19'74)).

Part (2) of Rule 17(c), which deals with motions to quash a
subpoena, does not specify who has standing to make such a motion.
In general, a party has standing in a proceeding when the party has
a personal interest in the outcome. See Craig v. Boren, 429 U.S.
190, 194 (1976) (holding that a party must suffer an “injury in
fact” to have standing to bring suit in federal court). When a
party has possession of documents, or has an ownership interest in
documents held by a third-party, that are the subject of a
subpoena, then the party has standing to move to quash under Rule
17(c) (2) . Schwimmer v. U.S., 232 F.Zd 855, 860-861 (8th Cir. 1956).
A party that does not possess or have a property interest in the
documents that are the subject of a subpoena does not have standing
to move to quash the subpoena under Rule 17(c)(2) because he will
not suffer any injury if the subpoena is enforced. _§§ In re
Seiffert, 446 F.Supp. 1153, 1155-56 (D.C.N.Y. 1978) (holding that

a defendant did not have standing to move to quash a subpoena

issued by the government for his bank records because the defendant

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failed to show “a sufficient causal relationship between the
subpoena's alleged infirmities and the injury asserted”).

Finally, when a defendant’s subpoena is directed at a third
party that has expressed to the court that it objects to complying
with the subpoena, the federal government has standing to move to
quash the subpoena on behalf of the third party. See U.S. v. Elife,
43 F.R.D. 23, 25 (S.D.N.Y. 1967) (“The letter of Railway Express to
this Court . . . expressing its disinclination to make its records
available, accords the government standing to object [to the
defendant's subpoena] on its behalf.”); see also U.S. v. Hughes,
895 F.2d 1135 (6th. Cir. 1990) (considering on. the merits the
government’s motion. to quash defendant’s subpoena duces tecum
served on the government's expert witness).

The government moves to quash a subpoena duces tecum
identifying records belonging to, and in the possession of, the
Memphis Police Department. There is no evidence that the federal
government has any interest in these documents or will suffer any
injury if Jones’ subpoena is enforced. There is no evidence that
the Memphis Police Department or any agent of the City of Memphis
or the State of Tennessee has asked the AUSA to act on behalf of
the Memphis Police Department. Accordingly, the court finds that
the government does not have standing to move to quash Jones'
subpoena duces tecum served on the “Keeper of the Records” of the

Memphis Police Department on March 3, 2005.

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For the foregoing reasons, Plaintiff’s motion to quash is

DENIED.

So ordered this M day of June 2005.

yV/M.M_

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 39 in
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Honorable Samuel Mays
US DISTRICT COURT

